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JAMES MURPHY, ON BEHALF OF HIMSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                    No. 1:24-cv-05224




PIRDIE LLC,




                           PIRDIE LLC
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        7/11/2024                                                 s/ G. Pisarczyk
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